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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)


                                            ORDER

        At the hearing held in this case on July 16, 2019, and in a minute order issued on the
same date, the Court modified the February 15, 2019 media communications order [Dkt. # 36],
the minute order dated February 21, 2019, and the defendant’s conditions of release [Dkt. # 21]
to include a ban on making any statement on any subject on Instagram, Twitter, or Facebook.
Minute Order of Jul. 16, 2019.

       To ensure that there can be no misunderstanding, the Court hereby reiterates, as it stated
on July 16, that all other conditions of release, and all other provisions of the Court’s orders of
February 15 and February 21, 2019, remain in force. This means, that in addition to the
condition imposed yesterday:


               [T]he defendant is prohibited from making statements to the media or in
               public settings about the Special Counsel’s investigation or this case or
               any of the participants in the investigation or the case. The prohibition
               includes, but is not limited to, statements made about the case through the
               following means: radio broadcasts; interviews on television, on the radio,
               with print reporters, or on internet based media; press releases or press
               conferences; blogs or letters to the editor; and posts on Facebook, Twitter,
               Instagram, or any other form of social media.

               Furthermore, the defendant may not comment publicly about the case
               indirectly by having statements made publicly on his behalf by
               surrogates, family members, spokespersons, representatives, or
               volunteers.
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Minute Order of Feb. 21, 2019 (emphasis added). The prohibited “statements . . . about the
Special Counsel’s investigation or this case or any of the participants in the investigation or the
case” include, but are not limited to, statements about public filings or orders issued in the case,
and the re-transmission, quotation, or dissemination of statements by others about the
investigation or the case.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: July 17, 2019




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